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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA             )
                                     )
      v.                             ) Criminal Action No. 23-36 (RBW)
                                     )
WILLIAM DUNFEE,                      )
                                     )
                  Defendant.         )
____________________________________ )

                                             ORDER

       On January 22, 2024, the Court conducted a bench trial in this matter on three counts of

the Indictment: (1) Civil Disorder, in violation of 18 U.S.C. § 231(a)(3) (“Count One”);

(2) Obstruction of an Official Proceeding and Aiding and Abetting, in violation of 18 U.S.C.

§ 1512(c)(2) (“Count Two”); and (3) Entering and Remaining in a Restricted Building or

Grounds, in violation of 18 U.S.C. § 1752(a)(1) (“Count Three”). See Indictment at 1–2, ECF

No. 15. Prior to the bench trial, “[t]he parties ha[d] reached numerous stipulations in this matter,

including stipulations that the[ stipulated] facts meet all elements of Counts One and Three.”

Joint Notice Regarding Bench Trial at 1, ECF No. 61. However, the defendant contested his

guilt as to Count Two. See id.

       At the conclusion of the bench trial, the Court found “that, in accordance with the parties’

stipulations that the stipulated facts establish the elements of Counts One and Three, a guilty

verdict [would be] entered against the defendant on Count One . . . and Count Three[.]” Order at

1 (Jan. 22, 2024), ECF No. 66. Furthermore, the Court concluded “that, in accordance with the

stipulated facts and the Court’s own factual findings based on the evidence presented during the

bench trial and conclusions of law articulated by the Court, a guilty verdict [would be] entered

against the defendant on Count Two[.]” Id.
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        However, in light of the Supreme Court’s subsequent decision in Fischer v. United States,

144 S. Ct. 2176 (2024), the Court must vacate the defendant’s conviction on Count Two. 1

Nonetheless, in accordance with the parties’ “stipulations that the[ stipulated] facts meet all

elements of Counts One and Three[,]” Joint Notice Regarding Bench Trial at 1, the Court

confirms the defendant’s convictions as to Counts One and Three. Accordingly, it is hereby

        ORDERED that, based on the Supreme Court’s decision in Fischer, the defendant’s

conviction on Count Two is VACATED. It is further

        ORDERED that Count Two of the Indictment is DISMISSED.

        SO ORDERED this 6th day of August, 2024.



                                                                        ________________________
                                                                        REGGIE B. WALTON
                                                                        United States District Judge




1
 In its January 22, 2024 Order, the Court indicated that it would “issue a Memorandum Opinion, with
accompanying findings of facts and conclusions of law” as to its finding of guilt on Count Two. Order at 1 n.1 (Jan.
22, 2024). However, considering the stipulations agreed to by the parties and given the fact that the defendant’s
conviction on Count Two is now being vacated, the Court sees no need to issue such an opinion.

                                                         2
